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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


    MARTÍN JONATHAN BATALLA
    VIDAL, et al.,

                       Plaintiffs,

             v.                                        No. 16-cv-4756 (NGG) (VMS)

    CHAD F. WOLF, et al.,

                       Defendants.



    STATE OF NEW YORK, et al.,

                       Plaintiffs,

             v.                                        No. 17-cv-5228 (NGG) (VMS)

    DONALD TRUMP, et al.,

                       Defendants.



                                     JOINT STATUS REPORT

          Pursuant to the Court’s December 4, 2020 order in the above-captioned matters, Batalla
   Vidal ECF No. 354, the parties, having conferred, jointly submit the following status report. As

   explained more detail below, the parties agree in part and disagree in part on the scope of any

   appropriate additional remedies in these matters.

                                      The Parties’ Agreements

          Before and after the Court’s December 4, 2020 Order, the parties have been negotiating

   and conferring on the subject of the appropriate remedies in light of the current status of this

   litigation. In addition to the various forms of relief that the Court has already ordered—that is,

   (1) vacatur of the Wolf Memorandum; (2) prominent notice of the Court’s order and Defendants’
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   immediate changes to the DACA policy on government websites, see Batalla Vidal ECF No. 355;

   and (3) a January 4, 2021 deadline for a status report from Defendants including a variety of

   statistical information—the parties have now reached the following additional agreements 1:


                  1. Defendants will send individualized paper notice to all relevant
                     class members that their current period of deferred action under
                     DACA has now been extended from one year to two years.

                  2. Defendants will send individualized paper notice to all relevant
                     class members that their existing one-year employment
                     authorization documents (EADs) have now been extended by
                     DHS/USCIS to two years. These notices could be presented to
                     an employer as definitive evidence of the extension of the
                     validity period of the EADs. These notices would also be
                     specific to each individual, and also specifically note that they
                     are to be accepted for I-9 verification.

                  3. Defendants will send individualized paper notice to all relevant
                     class members whose first-time requests for consideration of
                     deferred action under DACA were received at a USCIS lockbox
                     on or after June 30, 2020, and were rejected pursuant to the Wolf
                     Memorandum.

                  4. Defendants will send individualized paper notice to all relevant
                     class members whose DACA-based applications for an advance
                     parole document were received at a USCIS lockbox on or after
                     June 30, 2020, and were rejected pursuant to the Wolf
                     Memorandum.

                  5. Defendants will publish and distribute guidance—available to
                     the general public, state and federal agencies, and employers—
                     about the significance of these changes, including instructions to
                     employers for completing Form I-9, Employment Eligibility
                     Verification, when presented with these automatically extended
                     EADs. This guidance will also make clear that these
                     automatically extended EADs should be treated as having a
                     two-year expiration date for all purposes for which such EADs
                     are considered, including when verifying eligibility for state
                     services or benefits.


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            As set forth in greater detail below, despite their best efforts to reach a full negotiated
   resolution of these matters, the parties disagree with respect to the appropriate timing of these
   remedial tasks.
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           Should any additional remedial disputes arise in the future, the parties will first meet and

   confer in an attempt to resolve them without the need for judicial involvement. Notwithstanding

   these agreements, however, all parties reserve their right to seek any appropriate relief in the future.

   In particular, Defendants reserve their right to seek appellate relief and an accompanying stay, if

   appropriate. And Plaintiffs reserve their right to request “further remedies if they become

   necessary,” given that the Court has “retain[ed] jurisdiction of this matter for purposes of

   construction, modification, and enforcement of” the Court’s December 4, 2020 remedial order.

   Batalla Vidal ECF No. 354.

           In addition, the parties set forth the following additional subjects on which, despite their

   best efforts, they were unable to reach agreement. 2
                                            Plaintiffs’ Position

           The parties disagree regarding three points related to the agreed relief identified in this joint

   status report: the timing for Defendants to provide the notices described above; Plaintiffs’ ability

   to review and comment on those documents before they are finalized; and whether Defendants

   should mail new EADs to class members before the current EADs expire. As described below,

   Plaintiffs believe that as to these three points, the additional relief they seek is necessary and

   narrowly tailored to cure Defendants’ unlawful conduct, effectuate the Court’s prior orders, and
   put class members in the same position they would have been in had their EADs been lawfully

   issued with the correct two-year term in the first place. Plaintiffs look forward to discussing these

   points with the Court and Defendants’ counsel at the status conference tomorrow.

           1. Defendants should send notices to class members by December 31, 2020. The parties

   disagree about the meaning of the Court’s December 4, 2020 order stating that “[t]he government

   is DIRECTED to prepare to provide mailed notice to all class members by December 31, 2020.”




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               See Ex. 1, Meet-and-Confer Email Chain.
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   Plaintiffs’ position is that the Court’s order requires that notices be mailed by December 31, 2020,

   rather than merely taking steps to mail a notice at a future date.

          2. Content of the notices for class members. Plaintiffs request that the Court order the

   parties to meet and confer on the text of the notice(s) to be sent by Defendants to class members

   as required by the Court’s December 4 Order and parties agreements in paragraphs 1-4 above. If

   the parties are unable to reach agreement, they should advise the court of their positions on the

   content of the notice(s) by December 21, 2020. Moreover, in the experience of undersigned

   counsel, it is common for the federal government to negotiate with class counsel about the content

   of the notices it will provide to affected class members. See, e.g., Darweesh v. Trump, No.17 -cv-

   480-CBA-LB (E.D.N.Y Sept. 1, 2017), ECF No. 218-1.

          3. New EADs and Notices are Necessary to Make Class Members whole.

          In order to make whole the class members who received a one-year EAD rather than a two-

   year EAD and in the position they would have been absent Defendants’ unlawful issuance of the

   Wolf Memo, Plaintiffs need two things: (a) proof within a short time frame that their EADs have

   been extended from one year to two, and (b) physical EAD cards reflecting the extension of their

   EAD validity period to two years. As Plaintiffs noted in their previous submissions, “EADs are

   the primary form of government identification for DACA recipients,” and are used for a variety of

   purposes, from showing work authorization, to demonstrating that a drivers’ license remains valid

   in certain states, and other critical employment and governmental purposes. Plaintiffs’ Joint Reply

   Mot. for Partial Summary J., Dkt. 353 (Dec. 4, 2020). A paper notice that does not have a photo

   ID and other hallmarks of an official ID simply does not replace the value a physical EAD card.

   Plaintiffs recognize that provision of physical EAD cards will take some time. Thus, Plaintiffs

   believe that more immediate provision of proof that an individuals’ EAD has been extended from

   one year to two is critical. See e.g., Suppl. Decl. Batalla Vidal, Dkt. 309-5, Ex. D. Plaintiffs

   proposed several potential options with the aim of satisfying class members’ need for timely proof

   that their EADs are valid for two years and for physical EAD cards while ameliorating the



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   government’s concerns about fraud, but the parties were unable to reach agreement by the time of

   filing.



             For these reasons, Plaintiffs respectfully request that the Court (1) adopt the parties’

   agreement, set forth above; (2) direct Defendants to issue a notice that EADs were extended from

   one year to two years and to issue a physical EAD card valid for the extended year; (3) clarify that

   the deadline for Defendants to send the notice(s), pursuant to the Court’s December 4 Order, is

   December 31, 2020; and (4) order the parties to meet and confer on the text of the notice(s) to be

   sent by Defendants to class members as required by the Court’s December 4 Order and, if unable

   to reach agreement, to notify the court of their positions by December 21, 2020.

                                            Defendants’ Position

             Despite significant logistical challenges, and despite the settled principle that there is no

   legal obligation to provide any form of individualized notice to members of a class certified under

   Federal Rule of Civil Procedure 23(b)(2), see Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362

   (2011), Defendants have agreed, nearly verbatim, to nearly all of Plaintiffs’ requests—and

   certainly to all of the most significant ones. What Defendants have already agreed to above would

   provide complete relief (and more) to members of the class, and Defendants believe it could be

   accomplished—albeit through significant burden and expense—no later than 30 days from today.

   The Court should therefore accept the parties’ proposal above, set a deadline of January 8, 2021,

   and reject Plaintiffs’ remaining proposals. Defendants address each area of disagreement in

   greater detail below, and will be prepared to discuss these topics at tomorrow’s status conference.

             1. Timing. With respect to the precise timing of the five remedial steps outlined above,

   on which the parties have otherwise reached full agreement, Defendants regret that it has become

   necessary to present the Court with a dispute over whether such notice and guidance be issued

   within 30 days (i.e., by January 8), rather than issued within 22 days (i.e., by December 31).

   Plaintiffs originally proposed a 30-day deadline for notice to be provided to class members whose

   initial DACA requests or applications for advance parole had been rejected pursuant to the Wolf

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   Memorandum—only to change course on filing day, and propose that all notice-related tasks be

   accomplished by December 31. See Ex. 1. Thirty days is already an extraordinarily short timeline

   to send individualized, hard-copy paper notice through the U.S. mail to tens of thousands of

   individuals, and Defendants have grave concerns about their actual ability to accomplish all of

   these tasks before December 31. Defendants, however, believe that they can do so by January 8,

   absent any unexpected challenges. Accordingly, Defendants respectfully request that the Court

   set January 8 as the deadline for the agreed-upon tasks above, rather than December 31. 3

          2. Sharing deliberative drafts with opposing counsel. Plaintiffs’ counsel have requested

   an opportunity to review Defendants’ draft notices in advance of finalizing and sending them

   through the mail. There is no legal basis for this request, and it raises significant institutional

   concerns for Defendants. Among other reasons, such drafts are likely to be subject to one or more

   privileges. For obvious reasons, as a general matter, neither the Department of Justice nor the

   Department of Homeland Security would typically share deliberative drafts outside the federal

   government, and this case presents no compelling reason for an exception to that reasonable

   position. Defendants have already agreed to the content of the notices (as detailed above), so

   Plaintiffs already know, in substance, what these notices are going to say. In the (presumably

   unlikely) event that Plaintiffs are dissatisfied with the final form of the notice language, they can

   raise any issues with the Government, and present any irreconcilable disputes to the Court, in the

   normal course.

          In addition, Plaintiffs’ proposal would necessarily create additional delay. Defendants’

   proposed 30-day timeline assumes that the notice language is finalized immediately. Defendants

   have already prepared a draft, in order to expedite this process as greatly as possible. If Defendants

   were ordered to share that draft with Plaintiffs, and solicit comments and feedback from Plaintiffs,


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            Although the Court referenced December 31, 2020 in its December 4, 2020 Order—which
   was issued without the benefit of the parties’ positions on this timing nuance, and before the parties
   reached the significant agreements set forth above—Defendants do not read that language as
   actually setting a deadline of December 31, 2020. And for the reasons stated in this document,
   January 8, 2021 is a more appropriate deadline.
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   it will necessarily slow this process down, with little or no corresponding benefit, and further

   jeopardize Defendants’ ability to complete these logistically challenging tasks by January 8 (let

   alone by December 31).

          3. Issuing multiple forms of Employment Authorization Document (EAD) extension

   documents to the same individual. Defendants have agreed that within 30 days, they will send

   individualized notice to every relevant class member that their 1-year EADs have been extended

   to 2-year durations. Per the parties’ agreement, this notice “could be presented to an employer as

   definitive evidence of the extension of the validity period of the EADs,” “would also be specific

   to each individual,” and would “specifically note that they are to be accepted for I-9 verification.”

   With respect to their authorization to work in this country—and to provide definitive evidence of

   that authorization to current or future employers or prospective employers—this agreement

   provides Plaintiffs with complete relief.

          Nevertheless, Plaintiffs also ask that Defendants take the additional step of sending those

   same class members actual updated EAD cards, reflecting the two-year duration (that is, in

   addition to the individualized notice that their existing 1-year authorization has now been extended

   to two years). For the reasons above, that step is unnecessary, as a legal matter—it would

   accomplish nothing beyond the proposal to which Defendants have already agreed.                 And

   Defendants’ agreement—originally proposed by Defendants—that the agency will also publish

   and distribute guidance regarding the validity of these extended EADs addresses any concern that

   other entities (such as private employers, or state agencies) will behave improperly by failing to

   treat the extended EADs as they should be treated.

          In addition, and perhaps most importantly, Plaintiffs’ proposal creates a significant risk of

   fraud. DHS and USCIS, whenever possible, avoid issuing multiple identity or verification

   documents to the same individual that are valid for the same (or partially overlapping) periods,

   because doing so necessarily creates a significant risk of fraud. Issuing the same person (1) an

   individualized notice that their existing one-year EAD has been extended to two years, and (2) an

   updated EAD card that is also valid for two years, creates an opportunity for security and fraud

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   risks that Defendants are not willing to accept—particularly where, as here, that risk is entirely

   unnecessary. 4

                                             *      *       *

          For these reasons, Defendants respectfully request that the Court (1) adopt the parties’

   agreement, set forth above; (2) set the deadline for Defendants to complete these tasks as January

   8, 2021, rather than December 31, 2020; and (3) reject Plaintiffs’ remaining requests for relief.




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             In the event that the Court does order Defendants to provide updated EAD cards in
   addition to the individualized notices it has already agreed to, it should set the deadline for doing
   so no earlier than nine months into their current validity periods. Such documents would only be
   beneficial to Plaintiffs (if ever) when the original one-year terms expired.
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      Dated: December 9, 2020                Respectfully submitted,

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